kL WwW bw

LA

Co oOo 6 aD

11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

Case 2:20-cr-00194-JLR Document 43 Filed 12/08/21 Page 1 of 3

UNITED STATES OF AMERICA,

VICKI BOSER,

UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

Plaintiff,

Defendant.

 

 

AT SEATTLE

No. CR20-194-JLR

AMENDED ORDER OF FORFEITURE

THIS MATTER comes before the Court on the United States’ oral motion

(“Motion”) for entry of an amended order forfeiting, to the United States, the Defendant

Vicki Boser’s interest in the following property:

A sum of money in the amount of $273,137.85, reflecting proceeds the Defendant
obtained from her commission of Wire Fraud, in violation of 18 U.S.C. § 1343.
The United States has agreed it will request the Attorney General apply any
amounts it collects toward satisfaction of this forfeited sum to the restitution that is
ordered in this case. The United States has also agreed that any amount the
Defendant pays toward restitution will be credited against this forfeited sum.

The Court, having heard the United States’ Motion, defense arguments in opposition,

and the additional evidence presented at sentencing, hereby FINDS entry of an Amended

Order of Forfeiture is appropriate because:

Order of Forfeiture - 1

United States vy. Vicki Boser, CR20-194-JLR

UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220
SEATTLE, WASHINGTON 98101
(206) 553-7970
Oo Oo NY DH On FF WW LY

NO NO NY WV NY NY DN VY HNO RB RB Re Be BPO Se PS i eS ES
oOo yt HD Or BW HY KF CO 0 TFN DH A HP WH LY KF CS

 

 

Case 2:20-cr-00194-JLR Document 43 Filed 12/08/21 Page 2 of 3

e The proceeds of Wire Fraud, in violation of 18 U.S.C. § 1343, are forfeitable
pursuant to 18 U.S.C. § 981(a)(1)(C), by way of 28 U.S.C. § 2461(c);

e Inher plea agreement, the Defendant agreed to forfeit, pursuant to 18 U.S.C.
§ 981(a)(1)(C), by way of 28 U.S.C. § 2461(c), a sum of money of “at least
$166,313.85, reflecting the proceeds [... she] obtained from her commission of
the offense” (Dkt. No. 22, § 13);

e The additional evidence presented at sentencing reflects the Defendant actually
obtained at least $273,137.85 in proceeds from the offense; and,

e This sum of money is personal to the Defendant; pursuant to Federal Rule of
Criminal Procedure (“Fed. R. Crim. P.”) 32.2(c)(1), no third-party ancillary

process is required before forfeiting it.

NOW, THEREFORE, THE COURT ORDERS:

1) Pursuant to 18 U.S.C. § 981(a)(1)(C), by way of 28 U.S.C. § 2461(c), her
plea agreement, and the additional evidence presented at sentencing, the Defendant’s
interest in the above-identified sum of money is fully and finally forfeited, in its entirety,
to the United States;

2) Pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) — (B), this Order will become
final as to the Defendant at the time she is sentenced; it will be made part of the sentence;
and, it will be included in the judgment;

3) No right, title, or interest in the identified sum of money exists in any party
other than the United States;

4) Pursuant to Fed. R. Crim. P. 32.2(e), in order to satisfy this sum of money,
in whole or in part, the United States may move to amend this Order, at any time, to

include substitute property having a value not to exceed this sum of money; and,

/f/
Order of Forfeiture - 2 UNITED STATES ATTORNEY
United States v. Vicki Boser, CR20-194-JLR 700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970
oO Oo IN HR A HP WD NH

NO NM MY PY PY NY NY KN KN eG eS eS SE SE Re Ell ele
Co YN DH A BW NY Ke CO C7O DNA BD A BP WW NY KK CO

 

 

Case 2:20-cr-00194-JLR Document 43 Filed 12/08/21 Page 3 of 3

5) The Court will retain jurisdiction in this case for the purpose of enforcing

this Order, as necessary.

IT IS SO ORDERED.

Ms
DATED this %__ day of December, 2021.

Presented by:

 

LYNDSIE SCHMALZ
MICHELLE JENSEN

Assistant United States Attorneys
United States Attorney’s Office
700 Stewart Street, Suite 5220
Seattle, WA 98101

(206) 553-7970
Lyndsie.R.Schmalz@usdoj.gov
Michelle. Jensen(@usdoj.gov

Order of Forfeiture - 3
United States v. Vicki Boser, CR20-194-JLR

C290 &

THE HON.|JAMES L. ROBART
UNITED STATES DISTRICT JUDGE

UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220
SEATTLE, WASHINGTON 98101
(206) 553-7970
